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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                11/9/2020
---------------------------------------------------------------X
ABRAHAM GROSS,                                                 :   20-CV-4340 (GBD) (RWL)
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  - against -                                  :
                                                               :
THE CITY OF NEW YORK, et al.,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

         As discussed at today’s conference, all deadlines in the scheduling order are

extended by 30 days.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated:           November 9, 2020
                 New York, New York


Copies transmitted to counsel of record and pro se Plaintiff via-ECF.




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